                         IN THE UNITED STATED DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI
                                  SOUTHERN DIVISION

WARREN DAVIS PROPERTIES XXV,                          )
L.L.C., et al.,                                       )
                                                      )
                        Plaintiffs,                   )
                                                      )
         v.                                           )       Case No. 6:21-cv-03177-MDH
                                                      )
AMERICAN GUARANTEE AND                                )
LIABILITY INSURANCE COMPANY,                          )
an Illinois corporation,                              )
                                                      )
                        Defendants.                   )



                         ORDER OF DISMISSAL WITH PREJUDICE

         Before the Court is the parties’ Stipulation of Dismissal With Prejudice (Doc. 47)

wherein in accordance with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

parties stipulate to the dismissal of this matter with prejudice with the parties to bear their own

costs.


         WHEREFORE, after review, the Court GRANTS the parties’ Stipulation of Dismissal

With Prejudice (Doc. 47), and hereby dismisses this case in its entirety with prejudice, with each

party paying its own costs.


         IT IS SO ORDERED.
DATED:            August 24, 2022
                                                        /s/ Douglas Harpool________________
                                                          DOUGLAS HARPOOL
                                                       UNITED STATES DISTRICT JUDGE




              Case 6:21-cv-03177-MDH Document 48 Filed 08/24/22 Page 1 of 1
